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                EXHIBIT C
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Browning, Jack

From:                               Bailey, Linda <lbailey@steptoe.com>
Sent:                               Thursday, June 18, 2020 1:20 PM
To:                                 Browning, Jack
Cc:                                 Burke, Thomas; Michael, Charles; david.bralow@firstlook.org
Subject:                            RE: Broidy, et al. v. GRA, et al., 19-cv-11861 (S.D.N.Y.)
Attachments:                        Broidy v. GRA


[EXTERNAL]

Dear Jack,

Perhaps your understanding of privacy concerns stems from the perspective of representing a news
organization. Imagine, if you will, being a private individual and being linked to an international criminal hacking scheme
through your phone number. Hopefully, you can understand why causing that type of exposure for people when there
is absolutely no need or reason to identify them is inappropriate.

With respect to your first question, I informed Mr. Bralow of the two numbers we identified that that are associated
with Mr. Grim and/or The Intercept on the Verizon subpoena in the attached message. I’m unsure how that language is
unclear; nevertheless, let me try to clarify further:

The only two numbers we identified that are associated with Mr. Grim and/or The Intercept (including anyone we are
aware is/was one of its reporters/editors, past or present) on the Verizon subpoena are                and
     . In other words, of all the numbers on the Verizon subpoena, there are two that we can identify as associated with
your clients, Mr. Grim and/or The Intercept, and we have disclosed those numbers to you twice now. We don’t have
any reason to believe any of the rest of the numbers on the Verizon subpoena are associated with your clients. If you
would like to provide us with all of the phone numbers associated with reporters and editors working for The Intercept,
we would be glad to cross check that information to provide even further certainty.

With respect to your second question, I am not aware of any subpoenas currently issued to anyone seeking information
related to Mr. Grim or The Intercept in any other related matter. The permitted discovery concluded in the Central
District of California long ago. Discovery was not served in the related matter in the Southern District of New
York. Discovery has not yet been served in the District of Columbia. And you are aware in granular detail of all discovery
sought related to your clients in this litigation. Naturally, I cannot make any representations about possible unrelated
matters our clients could be pursuing for which we do not represent them. In addition, I cannot make any
representations about possible unrelated matters my firm could be litigating that may involve your clients. I am not
aware of any, but certainly do not know every matter our client pursues outside our representation nor every matter my
firm litigates.

I pray this gives you sufficient comfort and clarity. If not, please do let us know.

Best regards,
Linda

Linda C. Bailey
Of Counsel
lbailey@steptoe.com

Steptoe
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+1 202 429 3907 direct Steptoe & Johnson LLP
+1 202 374 2744 mobile 1330 Connecticut Avenue, NW
+1 202 429 3902 fax    Washington, DC 20036
                       www.steptoe.com


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From: Browning, Jack <JackBrowning@dwt.com>
Sent: Thursday, June 18, 2020 11:31 AM
To: Bailey, Linda <lbailey@steptoe.com>
Cc: Burke, Thomas <THOMASBURKE@dwt.com>; Michael, Charles <cmichael@Steptoe.com>;
david.bralow@firstlook.org
Subject: RE: Broidy, et al. v. GRA, et al., 19-cv-11861 (S.D.N.Y.)

Dear Linda,

Thank you for your response. We disagree that there are “obvious privacy concerns” that would make it inappropriate
for you send us an unredacted version of the subpoena seeking records from Mr. Grim’s accounts as well as unredacted
copies of related documents. Phone numbers and subpoenas are not private facts subject to such strict secrecy. But we
will have to accept your representation that Plaintiffs have “not issued any other subpoenas in this matter seeking
information related to phone numbers or other accounts that [you] have any reason to believe are associated with
either Mr. Grim or any other reporter or editor working with The Intercept.” We will also accept your representations
that no information relating to Mr. Grim will be released during the stay and that you will provide notice when the stay
is lifted as well as ten days to file a motion to quash before you seek to enforce the subpoena.

We do, however, have two follow up questions. First, your email does not address whether the Verizon subpoena we
have received seeks information related to relevant phone numbers other than the two phone numbers associated with
Mr. Grim’s account that you have disclosed. In other words, please confirm that the Verizon subpoena does not seek
information relating to any other phone numbers related to Mr. Grim, The Intercept and any of its reporters/editors,
past or present.

Second, your email states that your “firm has not issued any other subpoenas in this matter seeking information”
related to Mr. Grim or The Intercept, but this begs the question whether any such subpoenas have been issued in related
matters. Obviously, we would be concerned if your firm or your clients were engaged in a broader campaign to collect
information about legitimate journalistic activity through backdoor subpoenas to common carriers. And just because we
have not received notice of such subpoenas does not mean they have not been issued or served – as we discussed on
the phone yesterday, it would not be unusual for a reporter to fail to receive notice from a common carrier that his or
her account information has been subpoenaed. We are also aware that Plaintiffs are engaged in litigation in related
proceedings in the Ninth and D.C. Circuits (and possibly other jurisdictions). Accordingly, please let us know immediately
if your firm (or any other firm to your knowledge) has issued subpoenas seeking information related to reporters or
editors working for The Intercept (past or present) in any related matters pertaining to Plaintiffs.

Best regards,

Jack


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From: Bailey, Linda <lbailey@steptoe.com>
Sent: Wednesday, June 17, 2020 8:38 PM
To: Browning, Jack <JackBrowning@dwt.com>
Cc: Burke, Thomas <THOMASBURKE@dwt.com>; Michael, Charles <cmichael@Steptoe.com>;
david.bralow@firstlook.org
Subject: RE: Broidy, et al. v. GRA, et al., 19-cv-11861 (S.D.N.Y.)

[EXTERNAL]

Dear Jack,

Good evening and thank you for your message. As we discussed on the phone, privacy concerns militate against sending
you an unredacted subpoena or an unredacted confirmation from Verizon stating that it will not produce documents
sought by the subpoena at issue until the stay is lifted. I’m sure you understand the obvious privacy concerns and why it
would be inappropriate to send you unredacted versions.

Thank you for confirming on the phone that neither you nor your clients have received any other notices or subpoenas
related to this action. Regarding your concern that rogue subpoenas may linger for which neither you nor your clients
have received notice nor been served, I have confirmed that our firm has not issued any other subpoenas in this matter
seeking information related to phone numbers or other accounts that we have any reason to believe are associated with
either Mr. Grim or any other reporter or editor working with The Intercept. Should I discover any information to the
contrary, I will of course alert you immediately.

In any event, the same understanding would apply across the board for discovery related to your clients in this
matter: (1) discovery is stayed, (2) we have alerted all carriers and other subpoena recipients that discovery is stayed,
(3) we have followed up with those carriers by email and phone to ensure they do not produce documents, (4) we will
alert Mr. Bralow (copied) when the stay is lifted, and (5) we will then wait ten days before seeking to enforce any
subpoena against your clients to permit you time to file a motion to quash if you see fit.

Please let us know if you need any further information.

Best regards,
Linda

Linda C. Bailey
Of Counsel
lbailey@steptoe.com

Steptoe
                                                 Steptoe & Johnson LLP
  +1 202 429 3907 direct                         1330 Connecticut Avenue, NW
  +1 202 374 2744 mobile                         Washington, DC 20036
  +1 202 429 3902 fax                            www.steptoe.com


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From: Browning, Jack <JackBrowning@dwt.com>
Sent: Wednesday, June 17, 2020 8:03 PM
To: Bailey, Linda <lbailey@steptoe.com>
Cc: Burke, Thomas <THOMASBURKE@dwt.com>
Subject: Broidy, et al. v. GRA, et al., 19-cv-11861 (S.D.N.Y.)

Dear Linda,

Thank you for taking the time to speak with me today. As we discussed, we cannot see the “subject telephone
numbers” in Verizon’s email confirming it will not disclose information related to the two phone numbers associated
with Ryan Grim. Accordingly, we will have to accept your representation that Verizon has agreed not to produce
information related to these two phone numbers pending the stay of discovery. I also appreciate that you have
confirmed that you will provide my clients with prompt notice when the stay is lifted and ten days to file a motion to
quash before the subpoena can be enforced.

But we remain concerned that the intrusion goes much further than the Verizon subpoena. Specifically, we fear that
there may be other subpoenas seeking to compel common carriers to disclosure account information from Mr. Grim or
additional reporters and/or editors working for The Intercept, a publication of First Look Media Works. We are also
worried that the subpoena served on Verizon – which we have never seen in full – also seeks information about relevant
phone numbers you have not disclosed, either belonging to Mr. Grim or other Intercept reporters.

Accordingly, please confirm that your clients have not served or propounded any other subpoenas on third parties in
this action seeking information about Mr. Grim, The Intercept or any journalists/editors who are currently affiliated with
or have ever been affiliated with a First Look publication. In other words, please state that Mr. Grim is the only reporter
or editor working with The Intercept whose common carrier accounts are subject to discovery in the above-referenced
matter and that the two phone numbers you cite in the email below are the only phone numbers for which records were
sought. If you have subpoenaed other Intercept reporters or other records relating to Mr. Grim, please let us know
immediately.

We hope that this issue can be resolved quickly. But we reserve the right to move the Court for an order requiring you
to provide details sufficient to identify and oppose all subpoenas seeking information from Intercept journalists and to
confirm that the production of any information related to such journalists has been properly stayed.

Thank you, in advance, for your courtesy and attention to these matters.

Best regards,

Jack


John Browning | Davis Wright Tremaine LLP
1251 Avenue of the Americas, 21st Floor | New York, NY 10020
Tel: (212) 603-6410 | Fax: (212) 379-5284
Email: jackbrowning@dwt.com | Website: www.dwt.com

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